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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
      v.                            )                 Criminal No. 21-0382 (PLF)
                                    )
CHRISTOPHER WARNAGIRIS,             )
                                    )
            Defendant.              )
____________________________________)

                                              ORDER

               On May 13, 2021, Magistrate Ivan D. Davis of the U.S. District Court for the

Eastern District of Virginia ordered the defendant Christopher Warnagiris released on personal

recognizance, subject to conditions. See Order Setting Conditions of Release (“the Order”),

United States v. Warnagiris, 21-mj-0167 [Dkt. No. 3]. On June 29, 2021, after an arraignment

and status conference before the undersigned, this Court modified Mr. Warnagiris’ conditions of

supervised release by amending subparts 7(f) and 7(g) of the Order. See Order (“Modification

Order”) [Dkt. No. 10] at 1. Subpart 7(f) of the Order was amended to read as follows: “The

defendant must . . . abide by the following restrictions on personal association, residence, or

travel: Do not depart the Eastern District of Virginia or the Western District of Virginia without

prior approval of Pretrial Services or the Court; do not enter the District of Columbia except for

any Court appearances or with prior approval of Pretrial Services or the Court.” Id. at 1.

Subpart 7(g) was revised by striking the phrase “co-defendant,” so to read as follows: “The

defendant must . . . avoid all contact, directly or indirectly, with any person who is or may be a

victim or witness in the investigation or prosecution, including: No contact with any potential

witness or victim for the charged offense unless in the presence of counsel.” Id. at 2.
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               Before the Court is Mr. Warnagiris’ Unopposed Motion to Temporarily Modify

Conditions of Release (“Def. Mot.”) [Dkt. No. 33]. Mr. Warnagiris “requests a modification to

his conditions of pretrial release to travel to, and live in, the Middle District of Pennsylvania,

where Mr. Warnagiris plans to reside beginning September 1, 2022, and to be able to travel to

the Western District of Pennsylvania, where his family resides and where he will require

consistent travel.” Def. Mot. at 1. Mr. Warnagiris has had no violations and is in compliance

with all conditions of release. See Pretrial Compliance Report [Dkt. No. 30] at 2. The

government does not oppose this motion. Def. Mot. at 2. Mr. Warnagiris is currently being

supervised by the Pretrial Services Agency for the District of Columbia (“Pretrial Services”).

Pretrial Services has been apprised of Mr. Warnagiris’ request to modify conditions of release

and takes no position on this matter. Pretrial Services will retain supervision of Mr. Warnagiris

if the motion is granted. The Court concludes that this modification is reasonable. Accordingly,

it is hereby

               ORDERED that Mr. Warnagiris’ Unopposed Motion to Temporarily Modify

Conditions of Release [Dkt. No. 33] is GRANTED; it is

               FURTHER ORDERED that subpart 7(f) of the Order, as amended by the

Modification Order, is VACATED; it is

               FURTHER ORDERED that subpart 7(f) of the Order is amended so that it reads

as follows: “The defendant must . . . abide by the following restrictions on personal

association, residence, or travel: Do not depart the Middle District of Pennsylvania or the

Western District of Pennsylvania without prior approval of Pretrial Services or the Court; do not

enter the District of Columbia except for any Court appearances or with prior approval of Pretrial

Services or the Court.”; and it is




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               FURTHER ORDERED that all other conditions set on May 13, 2021, as amended

by the Modification Order on June 29, 2021, shall remain in full force and effect.

               SO ORDERED.                                          Digitally signed by
                                                                    Paul L. Friedman
                                                                    Date: 2022.08.31
                                                                    12:49:28 -04'00'
                                                     ________________________
                                                     PAUL L. FRIEDMAN
                                                     United States District Judge

DATE: August 31, 2022




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